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    WhatsApp



    Winning the Fight
    Against Spyware
     Merchant NSO
    May 6, 2025




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          Takeaways
          • Six years ago, we detected and stopped an attack by the
               notorious spyware developer NSO against WhatsApp and
               its users, and today, our court case has made history as
              the first victory against illegal spyware that threatens the
               safety and privacy of everyone.

          • The jury’s decision to force NSO to pay damages is a
               critical deterrent to this malicious industry against their
               illegal acts aimed at American companies and our users
               worldwide.


          • This trial also revealed that WhatsApp was far from NSO’s
               only target — this is an industry-wide threat and it’ll take
               all of us to defend against it.




    Today’s verdict in WhatsApp’s case is an important step forward for
    privacy and security as the first victory against the development and
    use of illegal spyware that threatens the safety and privacy of
    everyone. Today, the Jury’s decision to force NSO, a notorious foreign



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    spyware merchant, to pay damages is a critical deterrent to this
    malicious industry against their illegal acts aimed at American
    companies and the privacy and security of the people we serve.


    As a reminder, six years ago, our engineers detected and stopped an
    attack by NSO using its spyware tool Pegasus to target over a
    thousand WhatsApp users, including human rights activists,
    journalists, diplomats and others in civil society. At the time, we worked
    with Citizen Lab to further investigate and alert the people who we
    believe were targeted - both so we could learn more about the attack
    and inform them about the steps they can take to secure their devices.

    Now, for the first time, this trial put spyware executives on the stand
    and exposed exactly how their surveillance-for-hire system - shrouded
    In so much secrecy - operates. Put simply, NSO’s Pegasus works to
    covertly compromise people’s phones with spyware capable of
    hoovering up information from any app installed on the device. Think
    anything from financial and location information to emails and text
    messages, or as NSO conceded: “every kind of user data on the phone.’
    It can even remotely activate the phone’s mic and camera - all without
    people’s knowledge, let alone authorization.


    This trial also revealed that WhatsApp was far from NSO’s only target.
    While we stopped the attack vector that exploited our calling system in
    2019, Pegasus has had many other spyware installation methods to
    exploit other companies’ technologies to manipulate people’s devices
    into downloading malicious code and compromising their phones. NSO
    was forced to admit that it spends tens of millions of dollars annually




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    to develop malware installation methods including through instant
    messaging, browsers, and operating systems, and that its spyware is
    capable of compromising iOS or Android devices to this day.


    Given how much information people access on their devices, including
    through private end-to-end encrypted apps like WhatsApp, Signal and
    others, we will continue going after spyware vendors indiscriminately
    targeting people around the world. These malicious technologies are a
    threat to the entire ecosystem and it’ll take all of us to defend against
    it. Today’s ruling shows spyware companies that their illegal actions
    against American technologies will not be tolerated.


    In this specific case, we know we have a long road ahead to collect
    awarded damages from NSO and we plan to do so. Ultimately, we
    would like to make a donation to digital rights organizations that are
    working to defend people against such attacks around the world. Our
    next step is to secure a court order to prevent NSO from ever targeting
    WhatsApp again.


    As always, we encourage security researchers to report security bugs
    through our Bug Bounty program so we can worktogether to quickly
    resolve them and protect our users.


    Finally, we’re publishing (unofficial) transcripts of deposition videos
    that were shown in open court so that these records are available to
    researchers and journalists studying these threats and working to
    protect the public. We intend to add official court transcripts once they
    become available.




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            transcript (shown in court), Sarit Bizinsky Gil, NSO’s Vice President of
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